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                SOUTHERN DISTRICT OF GEO R

                       STATESBORO DIVISIO N



JERMAINE McKEEVER,

      Movant,                      )

v.    )      Case                   No . CV607-006
                                     [Underlying CR604-010]
UNITED STATES OF AMERICA,          )

      Respondent .


                 REPORT AND RECOMMENDATIO N

      Movant has filed a motion pursuant to 28 U.S.C . § 2255 to vacate, set

aside, or correct his federal prison sentence . Doc. 1 . The government has

filed a motion to dismiss movant's motion as untimely . Doc. 7 . Movant has

filed a response opposing the government's motion to dismiss, and the

government has filed a reply to the response . Docs . 8, 9 . Because the

motion is barred by the statute of limitations applicable to § 2255 motions,

the Court recommends that the government's motion be GRANTED and

the instant motion be DISMISSED .
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I. BACKGROUN D

       Movant pleaded guilty to distributing approximately twelve grams of

cocaine hydrochloride in violation of 21 U . S .C . § 841 (a) . CR604-010, docs .

190, 200 .      On March 2, 2005, he was sentenced to 175 months'

imprisonment , five years' supervised release, a $2,400 . 00 fine, and a

$100 .00 special assessment . Id ., doc. 210 . Movant appealed, and the

Eleventh Circuit affirmed movant's conviction and sentence on September

15, 2005 . United States v . McKeever , 149 Fed . App'x 921 ( 11th Cir. 2005).

On January 9, 2006 , the United States Supreme Court denied movant's

petition for writ of certiorari . McKeever v . United States , 126 S . Ct . 1117

(2006) . Movant filed this motion on January 16, 2007 .1 Doc. 7 at 6 .



II. ANALYSIS

       The Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA)


        'Although the instant motion was filed with this Court on January 19, 2007,
pursuant to the "prison mailbox rule" "a prisoner's pro se § 2255 motion is deemed filed
the date it is delivered to the prison authorities for mailing ." Washington v . United
States , 243 F .3d 1299, 1301 (11th Cir . 2001) (citing Adams v. United States , 173 F .3d
1339, 1340-41 (11th Cir . 1999)) . Here, movant's § 2255 motion was delivered to the
Bureau of Prisons (BOP) for mailing via certified mail on January 16, 2007 . Doc. 7, Exs.
A, B . His motion, therefore, is deemed filed on January 16, 2007 .

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amended § 2255 to require a movant to file a § 2255 motion within one year

of the date movant's conviction becomes final . 28 U.S .C. § 2255 ¶ 6 . Denial

of certiorari by the Supreme Court operates to make a conviction final .

Ramirez v. United States , 146 Fed . App'x 325, 326 (11th Cir . 2005) ;

Washington v . United States , 243 F .3d 1299, 1301 (11th Cir. 2001)

(prisoner's conviction became final on day Supreme Court denied his

certiorari petition) . Movant's conviction therefore became final on January

9, 2006, when the Supreme Court denied his petition for writ of certiorari .

McKeever, 126 S . Ct . at 1117 . Movant filed the instant motion on Januar y

16, 2007. The government asserts that this motion is untimely because

mov ant filed it more than one year after his conviction became final. Doc.

7.

      In his response, movant cites to Supreme Court Rule 44 in support of

his contention that he timely filed his § 2255 motion. Doc. 8. Movant

contends that "the time for filing a [p]etition for rehearing on a denial of a

writ of certiourari [sic] tolls the time for filing a § 2255 [m]otion ." Id.

According to Supreme Court Rule 44, "any petition for the rehearing of any

judgment or decision of the Court on the merits shall be filed within 25 day s



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after entry of the judgment or decision ." Sup . Ct. R. 44(a) . Petitioner

admits, however, that he did not file a petition for rehearing. Doc. 8 at 1 .

But even if he had filed such a petition, it would not have tolled the time to

file his § 2255 motion. See United States v . Segers , 271 F .3d 181, 184 n .2

(4th Cir. 2001) ("[F]iling . . . a petition for rehearing of the denial of a

petition for certiorari has no effect on the finality of the judgment of

conviction .") ; Horton v . United States, 244 F .3d 546, 551 (7th Cir . 2001)

("[A] defendant's conviction becomes `final' under § 2255 ¶6(1) when the

Supreme Court denies the defendant's petition for writ of certiorari . . .

irrespective of the opportunity to petition the Supreme Court for

rehearing.") ; United States v . Willis , 202 F.3d 1279, 1280-81 (10th Cir .

2000) (" [J]udgment of conviction is final for purposes of the one-year

limitation period in § 2255 when the United States Supreme Court denies

a petition for writ of certiorari after a direct appeal, regardless of whether

a petition for rehearing from the denial of certiorari is filed .") .

      Movant further asserts that even if the statute of limitations is not

tolled by Rule 44, "he was under the impression" that the Supreme Cour t




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denied certiorari on January 17, 2006 .2 Doc. 8 . He has attached a portion

of a docket sheet from the Eleventh Circuit that includes an entry, dated

January 17, 2006, indicating that the Supreme Court had denied certiorari .

Id. at Ex. A . Movant contends that he "did not have the Supreme Court

order but only the docket sheet ." Id. He appears to raise a claim of

equitable tolling .

       "In the § 2255 context, equitable tolling `is appropriate when a

movant untimely files because of extraordinary circumstances that are both

beyond his control and unavoidable even with diligence ."' Jones v. United

States, 304 F .3d 1035, 1039 (11th Cir. 2002) (quoting Sandvik v . United

States, 177 F.3d 1269, 1271 (11th Cir . 1999) (per curiam)) . Equitable

tolling is an extraordinary remedy that is applied sparingly . See Irwin v.

Dep't of Veterans' Affairs, 498 U.S . 89, 96 (1990) . Movant's reliance on the

docket sheet, however, cannot permit the Court to equitably toll his claim .

 See United States v . McIntosh, 332 F .3d 550 (8th Cir . 2003) (equitable

tolling will not apply to save movant who files in reliance on date denial o f


       'While movant contends in his brief that the Supreme Court denied certiorari on
January 17, 2007, he cites to an Eleventh Circuit docket sheet entry, dated January 17,
2006, indicating that the Supreme denied certiorari . Doc . 8, Ex. A. The Court assumes
that the movant mistakenly typed 2007 in place of 2006 .

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certiorari docketed by lower court) ; United States v . Bell, 68 Fed . App'x

762, 764 (8th Cir . 2003) (equitable tolling not warranted since movant

"could have asked the [d]istrict [c]ourt for clarification, or, better yet, could

have requested a copy of the Supreme Court's order") ; United States v .

Thomas , 2006 WL 163169, at *2 (E .D . Ark. Jan. 19, 2006) ; see also Adams

v. United States , 173 F .3d 1339, 1342-43 (11th Cir . 1999) (noting a

judgment is final when the Supreme Court denies certiorari, not when the

Court of Appeals dockets the denial) .

      Finally, movant argues that he should be "given the opportunity to

present his issues" since the Court granted him an extension of time until

March 21, 2007 .3 Doc. 8 . While the Court did in fact grant movant an

extension of time, the extension referred to the time he had to submit hi s

"Memorandum of Law," which he had cited to in support of his § 225 5

motion but had failed to attach . Doc. 2 . The extension of time therefore


       s Movant also asserts that restricting him from filing his § 2255 motion "would
be an effective violation of the [S]uspension [C]lause ." Doc . 8. The Eleventh Circuit,
however, has held that the one-year limitations period announced in AEDPA does not
violate the Suspension Clause . See Johnson v . United States , 340 F .3d 1219, 1228 n .8
(11th Cir . 2003) ("AEDPA limitations periods do not per se constitute a suspension of
the writ .") ; Tinker v . Moore , 255 F .3d 1331, 1334 (11th Cir . 2001) (finding that, in
general, AEDPA's limitation period "does not render collateral relief ineffective or
inadequate to test the legality of detention, and therefore is not an unconstitutional
suspension of the writ of habeas corpus .") .

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had no bearing on movant's filing of his § 2255 petition .



III. CONCLUSION

      Based on the foregoing, movant's motion seeking relief pursuant to

§ 2255 is untimely . Movant has failed to demonstrate that the rare,

extraordinary circumstances that justify equitable tolling exist in this case

in order to excuse the belated filing of his motion . Accordingly, the

government's motion to dismiss should be GRANTED and the movant's

§ 2255 motion should be DISMISSED.4

     SO REPORTED AND RECOMMENDED this                              (    day o f

October, 2007 .


                                          UNITED  ATES MAGISTRATE JUDGE
                                          SOUTHERN DISTRICT OF GEORGIA




     4 Movant's request for appointment of counsel is DENIED as moot.

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